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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
WESTERN DIVISION

MCHENRY COUNTY and KANKAKEE
COUNTY, bodies politic and corporate,

Plaintiffs,
Case No. 21 CV 50341
V.
Judge Phillip G. Reinhard
KWAME RAOUL, in his official capacity

as Illinois Attorney General, Magistrate Judge Lisa A. Jensen

Nee Ne NS Ne Ne Se Ne SN Se SS”

Defendant.
PLAINTIFFS’ RESPONSE TO THE ATTORNEY GENERAL’S MOTION TO STRIKE
REFERENCES TO SECTION 30(b) OF THE ILLINOIS WAY FORWARD ACT IN THE
COMPLAINT

Defendant’s motion to strike (Doc # 22) borders on frivolous and should be denied. On
September 15, 2021, plaintiffs filed their Amended Complaint challenging the constitutionality
of section 15(g) on the basis of intergovernmental immunity and preemption (Doc # 7).

The scope of the plaintiffs’ Amended Complaint is clearly limited to section 15(g) and
does not challenge any other provisions of the Illinois Way Forward Act or the Illinois Trust Act.
Therefore, any references to 30(b) are limited in scope to its application to section 15(g).
Defendant recognizes this. See, e.g., The Attorney General’s Memorandum in Support of His
Motion to Dismiss at 3-4 & n.2 (Doc # 24).

Rule 12(f) allows the court to strike from any pleading an insufficient defense, or any
redundant, immaterial, impertinent or scandalous matter. Plaintiffs’ reference to section 30(b) is
not redundant, immaterial, impertinent, or scandalous.

In moving to strike matters as irrelevant, a defendant must clearly show that the matter is

outside the issues in the case and is prejudicial. Cumis Ins. Soc'y Inc. v. Peters, 983 F. Supp. 787,
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798 (N.D. Ill. 1997). Section 30(b) allows the Attorney General to investigate violations of and
enforce section 15(g), the source of plaintiffs’ Supremacy Clause challenge against the statute.
As such, the references to section 30(b) in the Amended Complaint are not outside the scope of
the issues in the case.

The content of pleadings is governed by Rule 8, Fed. R. Civ. P. Accordingly. “a viable
pleading need only include a ‘short and plain statement of the claim showing that the pleader is
entitled to relief,’ and district courts are to construe pleadings in the plaintiffs favor affording
the complaint a fair and reasonable construction ‘so as to do substantial justice.’” Boim v.
American Muslims for Palestine, 9 F.4" 545, 556 (7" Cir. 2021), citing Bausch v. Stryker Corp.,
630 F.3d 546, 562 (7" Cir. 2010) (“One objective of Rule 8 is to decide cases fairly on their
merits, not to debate finer points of pleading where opponents have fair notice of the claim or
defense’’).

Defendant tries to present plaintiffs’ inclusion of 30(b) in its prayers for relief as
prejudicial, claiming it is “confusing.” Motion to Strike § 10 at 3 (Doc # 22). However, the
defendant clearly understands that plaintiffs’ reference to section 30(b), which provides for the
Attorney General to investigate violations and enforce the provisions of the Illinois Way
Forward Act, refers to the plaintiffs’ request to enjoin enforcement of section 15(g).

“A prayer for relief is governed by Rule 8(a)(3), which requires that a plaintiff must make
‘a demand for judgment for the relief [it] seeks.’ The demand for judgment, however, is not
considered part of the plaintiffs claim for relief and the failure to request specific relief will not
bar that relief if it is supported by allegations in the body of the complaint.” Mehringer v. Village

of Bloomingdale, 2003 U.S. Dist. LEXIS 11040 at *26 (N.D. IIL), citing Wright & Miller,
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Federal Practice and Procedure: Civil 2d § 1255 (1990). The Amended Complaint makes it
clear that plaintiffs are seeking to enjoin section 30(b) only as it pertains to section 15(g).

Defendant’s motion to strike implies that the plaintiffs have included a request to enjoin
30(b) as a backdoor avenue to halt enforcement of the entire Illinois Way Forward Act. The
Amended Complaint is clear that the plaintiffs are only challenging section 15(g) and requests
that any investigation or enforcement pursuant to section 30(b) for an alleged violation of section
15(g) be enjoined. The defendant ignores the allegations of the Amended Complaint if it thinks
plaintiffs are asking the court to enter an order enjoining enforcement of the entire Illinois Way
Forward Act, when the subject matter of the Amended Complaint is clearly section 15(g).

Conclusion

For all the reasons contained herein, plaintiffs request this Court to deny defendant’s
Motion to Strike References to Section 30(b) of the Illinois way Forward Act in the [sic]
Complaint.

McHenry County, Illinois and
Kankakee County, Illinois

By: /s/ George M. Hoffman
One of their attorneys

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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a copy of Plaintiffs’ Response to Motion
to Dismiss was served on

Christopher G. Wells

Kathryn Hunt Muse

Alex Hemmer

Eileen Boyle Perich

Office of the Illinois Attorney General
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by electronic filing via the ECF system, before the hour of 4:00 p.m., on October 29, 2021.

/s/ George M. Hoffman
